        Case 5:15-cv-00065 Document 6 Filed on 05/07/15 in TXSD Page 1 of 2




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  LAREDO DIVISION

LETTY SANTOS                                     § No. 5:15-cv-65
                                                 §
   Plaintiff,                                    §
                                                 §
   v.                                            §
                                                 §
PERFECTION COLLECTION,                           §
LLC,                                             §
                                                 §
   Defendant.                                    §

                                   NOTICE OF SETTLEMENT

        “NOW COMES the Plaintiff, LETTY SANTOS, by and through the undersigned counsel

and hereby informs the court that a settlement of the present matter has been reached and all

parties to the present matter are currently in the process of executing the aforementioned

settlement agreement, which Plaintiff anticipates will be completed within the next 60 days.”

        Plaintiff therefore requests that this honorable court vacate all dates currently set on

calendar for the present matter.



Dated: May 7, 2015                           Respectfully Submitted,

                                             By:/s/ Ryan Lee
                                              Ryan Lee
                                             Attorneys for Plaintiff
                                             Krohn & Moss, Ltd.
                                             10474 Santa Monica Blvd. Suite 405
                                             Los Angeles, CA 90025
                                             Tel: 323-988-2400 x241
                                             Fax: (866) 861-1390
                                             rlee@consumerlawcenter.com

                                                                                                1
                                    NOTICE OF SETTLEMENT
      Case 5:15-cv-00065 Document 6 Filed on 05/07/15 in TXSD Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on May 7, 2015, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

electronically submitted to all parties by the Court’s CM/ECF system.



                                                            s/ Ryan Lee _
                                                            Ryan Lee
                                                            Attorney for Plaintiff




                                                                                              2
                                  NOTICE OF SETTLEMENT
